   Case: 3:21-cv-00064-TMR Doc #: 33 Filed: 05/18/21 Page: 1 of 4 PAGEID #: 426                (1 of 4)




                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
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                                                Filed: May 18, 2021

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                     Re: Case No. 21-3294, OH v. Gina Raimondo, et al
                         Originating Case No. : 3:21-cv-00064

Dear Counsel,

   The Court issued the enclosed opinion today in this case.

                                                Sincerely yours,

                                                s/Cathryn Lovely
                                                Opinions Deputy
   Case: 3:21-cv-00064-TMR Doc #: 33 Filed: 05/18/21 Page: 2 of 4 PAGEID #: 427   (2 of 4)




cc: Mr. Richard W. Nagel

Enclosure

Mandate to issue
     Case: 3:21-cv-00064-TMR Doc #: 33 Filed: 05/18/21 Page: 3 of 4 PAGEID #: 428                          (3 of 4)




                          NOT RECOMMENDED FOR PUBLICATION
                                 File Name: 21a0245n.06

                                          Case No. 21-3294

                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT

                                                                                        FILED
STATE OF OHIO,                                         )                         May 18, 2021
                                                       )                     DEBORAH S. HUNT, Clerk
        Plaintiff-Appellant,
                                                       )
                                                       )       ON APPEAL FROM THE UNITED
v.
                                                       )       STATES DISTRICT COURT FOR
                                                       )       THE SOUTHERN DISTRICT OF
GINA RAIMONDO, in her official capacity as
                                                       )       OHIO
Secretary of Commerce; DEPARTMENT OF
                                                       )
COMMERCE; RON S. JARMIN, Acting
                                                       )
Director, U.S. Census Bureau; U.S. CENSUS
                                                       )
BUREAU,
                                                       )
        Defendants-Appellees.                          )


        BEFORE: DAUGHTREY, McKEAGUE, and THAPAR, Circuit Judges.

        PER CURIAM. The Census Act requires the Secretary of Commerce to deliver population

data to the states by April 1, 2021. 13 U.S.C. § 141. Under Ohio’s Constitution, Ohio uses that

data to redraw its state and federal voting districts. The Secretary failed to meet the statutory

deadline, so Ohio sued. It asked the district court to order the data released at “the earliest possible

date.” R. 1, Pg. ID 16. The district court held that Ohio lacked standing and dismissed the case.

We conclude that Ohio has standing and reverse and remand.

        Ohio meets all three requirements for standing: (1) injury in fact, (2) traceability, and (3)

redressability. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992). First, Ohio suffered (and

continues to suffer) an informational injury because the Secretary failed to deliver Ohio’s data as
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Case No. 21-3294, Ohio v. Raimondo, et al.


the Census Act requires. Fed. Election Comm’n v. Akins, 524 U.S. 11, 21 (1998); Pub. Citizen v.

U.S. Dep’t of Justice, 491 U.S. 440, 448–50 (1989). Second, the injury is traceable to the Secretary

because Ohio’s informational injury is the direct result of the Secretary’s failure to produce the

required data. Am. Canoe Ass’n, Inc. v. City of Louisa Water & Sewer Comm’n, 389 F.3d 536,

543 (6th Cir. 2004). And third, Ohio’s injury is redressable. The Census Bureau represents that

it can deliver Ohio’s data in a “legacy format” by August 16, 2021—well before the September

30, 2021, projection that the agency previously identified. Whitehorne Decl., Appellate R. 33,

p. 2. Although Ohio would prefer to get its data sooner, Ohio agrees that an August 16 delivery

would allow it to complete its redistricting process. But Ohio currently has no assurance that the

federal government will live up to its most recent representation. So at the very least, monitoring

by the district court could move the proceedings along and provide Ohio with some redress.

       For these reasons, we conclude that Ohio has standing and remand the case to the district

court. With only three months until the proffered resolution date, the district court should treat

this matter expediently and hold a hearing to determine what remedy (if any) is appropriate.




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